  Case 18-96018        Doc 31      Filed 08/08/18 Entered 08/08/18 16:15:26                Desc Main
                                     Document     Page 1 of 4


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    WESTERN DIVISION

 In re: Tina Johnson                                ) Judge Thomas M. Lynch
                        Debtor                      )
                                                    ) Case No. 17-82868
                                                    )
                                                    ) Chapter 7
 ___________________________________                )______________________________________
                                                    )
 Patrick Layng, US Trustee                          ) Adversary Case
 Plaintiff                                          ) 18-96018
                                                    )
 v.                                                 )
                                                    )
 Michael C. Burr, Jaafar Law Group PLLC,            )
 ET. AL.                                            )
 Defendants                                         )

 NOTICE OF HEARING ON UNITED STATES TRUSTEE’S MOTION TO APPROVE
           STIPULATION FOR ENTRY OF JUDGMENT AGAINST
                    DEFENDANT DAVID CARTER

       Plaintiff, the United States Trustee, has filed a motion to approve a stipulation for the
  entry of judgement against defendant David Carter in this adversary proceeding. A copy of the
  motion is attached.
       Your rights may be affected. You should read the motion papers carefully and
discuss them with your attorney, if you have one in this adversary proceeding. (If you do
not have an attorney, you may wish to consult one.)

       If you do not want the court to enter an order granting the relief requested, or if you want
the court to consider your views on the motion, then you or your attorney must:

        Attend the hearing scheduled for Wednesday, August 15, 2018 at 9:00 a.m., in the United
States Bankruptcy Court for the Northern Di s t ri c t o f Il l i n oi s, W e s te r n Division, 327 South
Court Street, Room 3100, Rockford, Illinois.

       If you or your attorney do not take these steps, then the court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.

Dated: August 8, 2018                                    Respectfully submitted
                                                         PATRICK S. LAYNG
                                                         United States Trustee
Office of the U.S. Trustee
780 Regent Street, Suite 304                       By:     /s/ Debra L. Schneider
Madison, WI 53715                                        Debra L. Schneider
(608) 264-5522                                           Trial Attorney
  Case 18-96018         Doc 31     Filed 08/08/18 Entered 08/08/18 16:15:26              Desc Main
                                     Document     Page 2 of 4


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    WESTERN DIVISION

 In re: Tina Johnson                               ) Judge Thomas M. Lynch
                         Debtor                    )
                                                   ) Case No. 17-82868
                                                   )
                                                   ) Chapter 7
 ___________________________________               )______________________________________
                                                   )
 Patrick Layng, US Trustee                         ) Adversary Case
 Plaintiff                                         ) 18-96018
                                                   )
 v.                                                )
                                                   )
 Michael C. Burr, Jaafar Law Group PLLC,           )
 Fairmax Law, Michael Jaafar, David Ienna,         )
 Christina Banyon, and David Carter,               )
 Defendants                                        )

  MOTION TO APPROVE STIPULATION FOR ENTRY OF JUDGMENT AGAINST
                    DEFENDANT DAVID CARTER

         NOW COMES the United States Trustee, Patrick S. Layng, by his attorney, Debra L.

Schneider, who respectfully requests that the Court enter the order approving the stipulation for

entry of judgment and enter judgment in the above captioned case as to Defendant David Carter

only, and who in support of this motion asserts as follows:

      1. On June 7, 2018, the United States Trustee commenced this adversary case by filing a

         Complaint, Adversary Case No. 18-96018 for an assessment of penalties under U.S.C. §§

         105, 329, and 526 against the named Defendants.

      2. Defendant David Carter, has entered into a Stipulation with the United States Trustee to

         resolve this matter as it relates to Defendant David Carter only. See Stipulation, Dkt. 22,

         attached hereto as Exhibit A.




                                                    2
  Case 18-96018       Doc 31    Filed 08/08/18 Entered 08/08/18 16:15:26            Desc Main
                                  Document     Page 3 of 4


   3. Defendant David Carter has agreed to entry of judgment and agrees that the Court may

       enter the Order which accompanies this Motion and Stipulation without further notice or

       proceedings.

   WHEREFORE, the United State Trustee requests that the Court approve the Stipulation and

   enter judgement and the Order Approving such stipulation and all conditions set forth therein.



                                                     PATRICK S. LAYNG
                                                     United States Trustee



                                             By:      /s/ Debra L. Schneider
                                                     DEBRA L. SCHNEIDER
Office of the U.S. Trustee                           Attorney for U.S. Trustee
780 Regent Street, Suite 304
Madison, WI 53715
(608) 264-5522




                                                3
  Case 18-96018         Doc 31      Filed 08/08/18 Entered 08/08/18 16:15:26                 Desc Main
                                      Document     Page 4 of 4


                               CERTIFICATE OF SERVICE BY MAIL

        The undersigned hereby certifies pursuant to 28 U.S.C. § 1746 that he is an employee in the Office

of the United States Trustee for the Northern District of Illinois, Western Division and is a person of such

age and discretion as to be competent to serve papers.

        That on August 8, 2018, copies of the notice of motion and motion granting stipulation for

judgment against David Carter in the above adversary proceeding were served on the parties

below by placing said copies in a postpaid envelope and by depositing said envelope and

contents in the United States Mail.

        The undersigned further certifies under penalty of perjury that the foregoing is true and correct.

Michael C. Burr                          Michael C. Burr
Fairmax Law                              Robert J. Adams & Associates
1333 Burr Ridge Parkway                  901 W. Jackson Blvd.
Suite 200                                Suite 202
Burr Ridge, IL 60527                     Chicago, IL 60607-3738


Fairmax Law                              Michael Jaafar
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Suite 110                                Suite 110
Dearborn, MI 48124                       Dearborn, MI 48124


David Ienna                              Christina Banyon
23400 Michigan Avenue                    124 N. Scott Street
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David Carter                             Jaafar Law Group PLLC
308 W. State Street                      23400 Michigan Avenue
Suite 215                                Suite 110B
Rockford, IL 61101                       Dearborn, MI 48124

David Ienna                              Michael C. Burr
1 Parklane Blvd.                         55 E. Monroe Street
Suite 729 East                           Suite 3800
Dearborn, MI 48126                       Chicago, IL 60603


                                                           /s/ James C. Dreier, Jr.
                                                          James C. Dreier, Jr.
                                                          Paralegal Specialist for United States Trustee

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